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5
                                 UNITED STATES DISTRICT COURT
6                              CENTRAL DISTRICT OF CALIFORNIA

7
      DAVID D.D.,                                     Case No. 2:20-CV-06460 (VEB)
8
                            Plaintiff,                JUDGMENT
9
      vs.
10    KILOLO KIJAKAZI, Acting Commissioner of
      Social Security,
11
                           Defendant.
12
            For the reasons set forth in the accompanying Decision and Order, it is hereby ADJUDGED
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     AND DECREED THAT (1) Plaintiff’s request for an order remanding the case for further
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     proceedings is DENIED; (2) the Commissioner’s request for an order affirming the Commissioner’s
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     final decision and dismissing the action is GRANTED; (3) judgment is entered in the
16   Commissioner’s favor; and (4) the Clerk of the Court shall CLOSE this case.

17          DATED this 29th day of October 2021,

18                                                   /s/Victor E. Bianchini
                                                     VICTOR E. BIANCHINI
                                                UNITED STATES MAGISTRATE JUDGE
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                     JUDGMENT – DAVID D.D. v KIJAKAZI 2:20-CV-06460-VEB
